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11
                              UNITED STATES DISTRICT COURT
12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14
     JULIE SIMON,                             Case No. 2:22-cv-01819
15
                Plaintiff,                    NOTICE OF REMOVAL OF CIVIL
16                                            ACTION
                       v.
17                                            [28 U.S.C. §§ 1442(a)(1)]
     FEDERAL BUREAU OF
18   INVESTIGATION AND DOES 1-30,
19              Defendants.
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 1         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA AND TO THE PLAINTIFF, BY AND THROUGH HER
 3   COUNSEL OF RECORD:
 4         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1442(a)(1), Defendant
 5   Federal Bureau of Investigation (“FBI”), hereby removes the State Court action
 6   described below to this Honorable Court. The grounds for this removal are as follows:
 7         1.     On March 17, 2020, Plaintiff Julie Simon filed a civil action against
 8   Defendants Federal Bureau of Investigation (“FBI”) and Does 1-30 in the Superior Court
 9   of the State of California for the County of Los Angeles, Case No. 20STCV11051. A
10   copy of the action and other pleadings obtained to date are attached as Exhibit 1. The
11   Complaint asserts a tort claim against the FBI arising out of an alleged motor vehicle
12   accident in 2018.
13         2.     This action is one which must be removed to this Court pursuant to 28
14   U.S.C. § 1442(a)(1), which authorizes the removal of civil actions against “[t]he United
15   States or any agency thereof …” to the district court embracing the place where the
16   action is pending. The FBI is a federal agency and is entitled to, among other things, the
17   federal defense of sovereign immunity and federal defenses relating to the exhaustion of
18   administrative claim requirements. 28 U.S.C. § 2671, et seq. Further, the state court has
19   no jurisdiction over the FBI for incidents alleged in this action. 28 U.S.C.
20   § 1346(b)(1).
21         3.     Plaintiff has not served the United States Attorney’s Office or Attorney
22   General’s Office as required by Rule 4(i). See Fed. R. Civ. P. 4(i)(2). In Murphy Bros.
23   v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 356 (1999), the Supreme Court held that
24   service must be complete before the 28 U.S.C. § 1446(b) time limits for removal begin
25   to run. Accordingly, the time for this case to be removed pursuant to 28 U.S.C.
26   § 1446(b) has not begun to run and, thus, removal is timely.
27         4.     Promptly after filing this notice, the FBI shall give written notice of this
28   removal to the adverse party and to the Clerk of the State Court. See 28 U.S.C.
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 1   § 1446(d).
 2         5.     This Court is the proper district and division to hear this case because
 3   Plaintiff brought this action in the Los Angeles Superior Court. See 28 U.S.C.
 4   § 1442(a).
 5         6.     Because this notice is filed on behalf of a federal agency, no bond is
 6   required under the terms of 28 U.S.C. § 2408.
 7         WHEREFORE, the FBI removes the action now pending in the Superior Court of
 8   the State of California for the County of Los Angeles, Case No. 20STCV11051, to the
 9   United States District Court for the Central District of California.
10
11    Dated: March 18, 2022                     Respectfully submitted,
12                                              TRACY L. WILKISON
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                                                /s/ Sarah Quist
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